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                                    UNITED STATES DISTRICT COURT                                                 Ut.t; 1t lUJ8
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                                                  Western District ofKentucky                         ~~TCOUtU
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                  United States of America                        )
                               v.                                 )
                   stephen Kyle Goodlett
                                                                  )
                                                                  )
                                                                  )
                                                                        Case No.
                                                                                    ?: I J. -~F-                    'bJ>
                                                                  )
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                          ~6)


                                                CRIMINAL COMPLAINT
        I. the complainant in this case, state 1bat tbe following is true to tbe best of my knowledge and.belief.
On or about the date(s) of Aug. 2006 .through oct. 13, 2016 in the county of                      Larue                    mthe.
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     Western          District of
                                        ..   Kentucky         , the defendam(s) violated:                                               ij

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            Code Sectkm                                                   ()jfonse. Description                                         1:
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18 USC 2252A(aX1)
18 USC 2252A(aX5)(8)
                                               Traneportation of chid pornography
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         This c:riminal complaint is based on these fads:
See attached aftldavlt




         fl Continued on the attached sheet




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SWorn to before mo and signed in my presence.


Date:             12/1912016                                                                                                       "'
                                                                                              .,.~signature




City and state:                          Louisvile, KY                             u.s. Magl8lrate Judge Dave Whaln
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                      AFFIDAVIT FOR CRIMINAL COMPLAINT                                         I
                                                                                               I
        1. Your affiant is an investigative or law enforcement officer of the United States    I
within the meaning of Section 251 0(7) of Title 18, United States Code, and empowered          i
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by law to conduct investigations and to make arrests for offenses enumerated in Title 18,      ij
United States Code, Section 2516.                                                              I
        2. Affiant is a Special Agent ("•SA") with the Department of Homeland Security
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(DHS), Homeland Security Investigations ("HSf'). I have been employed with DHSI.HSI-
OI since October, 2008, and I am presently assigned to Louisville, Kentucky. Prior to
that, I was a police officer in Fargo, North Dakota, for 10 years and a Detective for 1 year
in Miami Gardens, FloridL My duties include the investigation of various violations of
federal criminal laws. I have attended the Federal Law Enforcement Training Center
(FLETC) where training was conducted pertaining to these types of investigations.

       3. This affidavit is based upon my personal knowledge and upon information
reported to me by federal and local law enforcement officers and others with knowledge
of the case. Unless specifically indicated qtherwise, all conversations and statements
described in this affidavit are related in substance and in part only.

        4. This affidavit is submitted in support of an application seeking an arrest
warrant for Stephen Kyle Goodlett. Your Affiant alleges that the facts and circumstances
outlined in this affidavit provide sufficient probable cause to believe that in or about and
between August, 2005, and October 13, 2016, Goodlett transported and possessed child
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pornography in violation of Title 18, United States Code Sections 2252A(a)(1), (a)(S)(B),            ~.
                                                                                                     !
(b)(1) and (b)(2).


                                   -FACTUAL BASIS

       5. On September 2, 2016, Elizabethtown Police received a child sexual
exploitation complaint. The complainant, KM (DOB: 312111996), stated that someone
informed her that nude photographs of her were uploaded to                     KM
told police she was 15 when she created the nude photos with her cell nhone for her
boyfriend.

                                                is based in Russia. "Anon-ib" is short for
"anonymous image board" and is used to anonymously post photographs online. Many
of, the photographs are self-taken and depict nudity. The photographs are often
accompanied by the first and last initial of the person in the photographs.

       7. Elizabethtown Police requested and received detailed IP address information
regarding the IP address responsible for uploading the imageS related to KM from the
website. Elizabethtown Police learned that IP address 68.34.215.61 was responsible for
the uploads and discovered through an online investigative tool that the subject IP
address belonged to a Comcast Cable account
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       8. In response to a subpoena, Comcast provided registration information regarding
IP address 68.34.215.61. The account was registered by Kyle Goodlett of
. . , Elizabethtown, KY. Goodlett was the Assistant Principal at Larue ~Wlt.y
School from July 4, 2012, until he was promoted to the Principal position on July I,
2013, he held that position until he was terminated on October 19, 2016. Goodlett was
Principal while KM was a student there and he had acCess to the nude images of KM
when he confiscated her cell phone. KM was a student at Larue County High School
from 2010 until she graduated in 2014.

         9. On October 13, 2016, the Kentucky State Police (KSP) executed a search
warrant at Goodlett's residence. An on scene preview of Goodlett's electronic devices,
including hjs iPhone and an external hard drive, yielded 60 files of child sexual
exploitation that he possessed. Goodlett provided his password to KSP and the Apple
identification was registered to KGoodlett@Comcast.net.

        10. On December 12, 2016, KSP received a report from the National Center for                       t
Missing and Exploited Children stating that several images discovered in Goodlett's
DrQpbox account were part of a known series of images with an identified minor victim.
Dropbox is a personal cloud storage service headquartered in San Francisco, California,
that is used for file sharing. Items placed in a user's Dropbox account are stored on
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servers owned and operated by Dropbox. Items placed in a Dropbox account can be                            il
accessed from numerous devices and shared with others via links to specific files or                       i!'

folders. KSP has determined the Dropbox account contained images ofknown victims to
include KM and five images from an identified minor female.

        11. I have reviewed the images from Goodlett's Dropbox account and confum.ed
them to be child pornography as defined by 18 U.S.C. § 2256(8XA}. Below is a
description of three of the images of the same identified minor female from the Painted
Roses series: 1

                 Image1 depicts a minor female approximately 10..14 years old
                 standing in front of a mirror fully nude with her leg propped up on
                 a bathroom sink exposing her vagina. The image shows her naked
                 breasts and vagina.

                 Image 2 depicts a fully nude minor female approximately 10..14
                 years old seated on the floor, leaning slightly forward, looking into
                 the camera with her legs spread open and her knees up exposing
                 her vagina and showing her naked breasts.

                 Image 3 depicts a fully nude minor female approximately 10..14
                 years of age laying down fully nude with the focal point being her
                 vagina and anus in the foreground and her face in the background.
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1 Copies of the described images were made available for the Magistrate Judge to review and will be kept
in a secure location by Affiant
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             12. Goodlett signed a waiver of his rights and agreed to a recorded interview with
    KSP Detectives. Goodlett admitted to KSP that he had an addiction to pornography and
    that he transferred images from phones confiscated from students to his personal thumb
    drive without their consent or knowledge. Goodlett stated he would take the images and
    share them to the                      website with the intent of trading for more images.
    Goodlett told KSP he used his iPhone and laptop to view the images.

         13. Based on the above informatio~ Affiant believes that Stephen Kyle Goodlett is
    in violation of 18 USC§§ 2252(A)(a)(l), (a)(S)(B), (b)(l), and (b)(2) for transportation
    and possession of child pornography.




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    DAVE WHALIN
    United States Magistrate J~e




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